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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

JILL HENNESSEY, Individually and              )
On Behalf of All Others Similarly Situated,   )
                                              )
                             Plaintiff,       ) No. 4:19-cv-01866-DDN
                                              )
vs.                                           ) JURY TRIAL DEMANDED
                                              )
KOHL’S CORPORATION and                        )
KOHL’S DEPARTMENT STORES, INC.,               )
                                              )
                             Defendants.      )


 PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                 MOTION FOR CLASS CERTIFICATION

                                          REDACTED




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I      INTRODUCTION

       If it’s always on sale, is it ever on sale? Plaintiff Jill Hennessey (“Plaintiff”) alleges

Defendants Kohl’s, Inc. (f/k/a Kohl’s Department Stores, Inc.) and Kohl’s Corporation

(collectively “Defendants” or “Kohl’s”) have engaged in a years-long deceptive price-comparison

scheme in violation of the Missouri Merchandising Practices Act (“MMPA”). Specifically, Kohl’s

compares “Regular” and “Original” prices (interchangeably, “ticket prices”) with “sale” prices in

order to create the illusion that its private and exclusive branded products can be bought for less

than their fair market value. But the advertised ticket prices and sales are illusory because, at

Kohl’s, discounts are the norm and transactions at ticket price are the exception. Since Kohl’s does

not offer or sell items at the higher prices in substantial quantities, they are not worth the higher

value represented on the ticket prices, and consumers do not get the bargain Kohl’s promises them.

       This case meets the requirements for class certification, as the core questions of liability

and damages will turn on common evidence, including Kohl’s companywide pricing policies and

a mechanical analysis of its sales data showing Kohl’s only sells about        of items at their full

ticket price. The class is numerous, and Plaintiff is an adequate representative. She is a victim of

Kohl’s deceptive scheme, she has retained experienced counsel, and her claims are materially

indistinguishable from those of other Class Members. Given the relatively small damages for

individual Class Members, a class action is the superior method for resolving this dispute.

II     RELIEF REQUESTED

       Pursuant to Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”), Plaintiff seeks

certification of the following class (the “Class”):

       All persons who, while in the state of Missouri, and at any time between July 1,
       2014 and the date of any judgment in this case (the “Class Period”), purchased from
       Kohl’s (either at a Kohl’s retail store or from its website) primarily for personal,
       family or household purposes, one or more Kohl’s private or exclusive branded

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                                                                              .”); Ex. 3 at 88:24-91:25

(                                                                                ). After the transaction,

Kohl’s provides a receipt emphasizing in large, bold print the total amount a consumer “saved” by

buying items for less than their ticket price. Ex. 11. See also Ex. 16 (Response to Interrogatory

No. 6) (“‘

                                                               .”).

        During the class period, Plaintiff Jill Hennessey purchased numerous proprietary branded

items from Kohl’s. See Ex. 11; Ex. 14 at 45:23-46:4; 118:19-119:20. She bought these items for

personal and household use and because she thought she was “saving money” and “getting better

deals” shopping at Kohl’s. Id. at 63:9-17; 70:19-71:10. She “would look at the original price and

feel like that was the value of the item and that the items at Kohl’s had better value than at some

of the other stores.” Id. at 71:11-16; see also id. at 110:19-111:2 (“My motivation was I felt like I

was getting a better value of the items at Kohl’s.”). She believed the ticket prices were “the regular

price, the normal price that the item is worth.” Id. at 74:5-8; see also id. at 74:9-17 (the ticket price

is “the value of the item”). She now believes Kohl’s deceived her because the ticket prices were

fake, so she did not receive the value that Kohl’s promised her. Id. at 174:4-18.

        B. Kohl’s maintains uniform pricing guidelines that ensure hardly any products are
           offered or sold at their ticket price

        Kohl’s senior management has instituted companywide “




                             Ex. 5 at KL00000192; see also Ex. 3 at 62:19-63:14; 67:1-13.3 Kohl’s




3
                                                       . Ex. 3 at 67:15-68:24.
                                                   3
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allegedly offered at its ticket price, more than        of those allegedly “off-sale” units were sold at

a price that was less than their full ticket price. Id. at ¶¶41-42.

IV      LEGAL STANDARDS

        Under Rule 23(a), a party must demonstrate: “(1) the class is so numerous joinder of all

members is impracticable; (2) there are questions of law or fact common to the class; (3) the claims

or defenses of the representative parties are typical of the claims or defenses of the class; and (4)

the representative parties will fairly and adequately protect the interests of the class.” Golan v.

Veritas Entertainment, LLC, No. 4:14CV00069 ERW, 2017 WL 193560, at *2 (E.D. Mo. Jan. 18,

2017) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345 (2011)). Plaintiff must also show

at least one subsection in Rule 23(b) is met. Id.

        Here, Plaintiff relies on Rule 23(b)(3), which requires the Court find: (1) questions of law

or fact common to class members predominate over any questions affecting only individual

members, and (2) a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy. Golan, 2017 WL 193560 at *2 (citing Blades v. Monsanto Co., 400

F3d 562, 566 (8th Cir. 2005)). Plaintiff also seeks certification under Rule 23(b)(2), which

authorizes class treatment when “the party opposing the class has acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding declaratory relief

is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

        Under either analysis, “[m]erits questions may be considered to the extent—but only to the

extent—that they are relevant to determining whether the Rule 23 prerequisites for class

certification are satisfied.” In re Dollar General Corp. Motor Oil Marketing and Sales Practices

Litig., MDL No. 2709, 2019 WL 1418292, at *11 (W.D. Mo. Mar. 21, 2019) (“Dollar General”)

(citing Amgen Inc. v. Conn. Ret Plans & Tr. Funds, 568 U.S. 455, 466 (2013)).



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V      ARGUMENT

       1. Rule 23(a)(1): Numerosity is satisfied

       Rule 23(a) requires a class be so numerous, joinder of all members is impracticable. Paxton

v. Union Nat. Bank, 688 F.2d 552, 559 (8th Cir. 1982).7 Kohl’s operates      stores in Missouri and

has produced data for almost         class member transactions during the Class Period. Boedeker

Decl. at ¶¶15-25. Common sense dictates there are tens of thousands (if not more) class members,

each with relatively small individual claims. Biben v. Card, No. 84-0844-CV-W-6, 1986 WL 1199

at *3, n7 (W.D. Mo. Jan. 6, 1986) (the Court can “make ‘common sense assumptions’” to find

numerosity) (citation omitted). Since it would be highly impracticable to join all these parties and

try individual suits, numerosity is satisfied. See Spann v. J.C. Penney Corp., 307 F.R.D. 508, 517

(C.D. Cal. 2015).

       2. Rule 23(a)(2): Commonality is satisfied.

       Commonality is satisfied “when the legal question ‘linking the class members is

substantially related to the resolution of the litigation.’” Dollar General, 2019 WL 1418292, at

*13 (quoting DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1174 (8th Cir. 1995)). “Even a single

[common] question will do.” Dukes, 564 U.S. at 359 (alterations in original).

       Here, as in Spann, Plaintiff contends Kohl’s has engaged in a common “‘scheme’ that was

rampant throughout [Missouri] as part of a massive, years-long, pervasive campaign and was

consistent across all of [Kohl’s] private branded and exclusive branded [products].” Spann, 307

F.R.D. at 518. This raises numerous common questions, including: (1) whether Kohl’s had a bona



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  The Eighth Circuit does not impose a separate threshold “ascertainability” requirement. Sandusky
Wellness Center, LLC v. Medtox Scientific, Inc., 821 F.3d 992, 995-99 (8th Cir. 2016). Regardless,
the proposed class definition is stated in objective terms, and Class Members can be identified
through Kohl’s extensive records pertaining to its customer loyalty program, as well as through
the use of self-identification affidavits. Dollar General, 2019 WL 1418292, at *16.
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fide intention to sell a reasonable quantity of products at their ticket price; (2) whether Kohl’s

made a reasonably substantial number of sales, or offered products for a reasonably substantial

period of time at the ticket prices; (3) whether ticket prices overstate the value of Kohl’s private

and exclusive branded items; (4) whether Plaintiff and Class Members received the benefit of their

bargain; and (5) whether Class Members are entitled to injunctive relief. See Dkt. 61, ¶64.

       These common questions are susceptible to common proof, such as Kohl’s companywide

                    and policies concerning coupons, discounts and other incentives. Additional

common proof will come from Plaintiff’s economics expert, who will perform a mechanical

analysis of Kohl’s sales data (Boedeker Decl. at ¶¶35, 43 and 58); and from Plaintiff’s consumer

behavior expert, who can opine on the harmful effects deceptive price comparisons have on

reasonable consumers. Declaration of Dhruv Grewal, Ph.D. (“Grewal Decl.”) at ¶¶28-39

(reasonable consumers expect ticket prices to reflect an item’s value based on prior sales). As in

Spann, “[a]ll of the items at issue have similar key characteristics, including they are private and

exclusive branded items, they have price tags that are intended to convey the [former price and fair

market value], and when purchased, a receipt details the price paid and any purported savings.”

307 F.R.D. at 518. “Because the claims of all prospective class members involve the same alleged

misrepresentations related to items with these same common characteristics, they are susceptible

to common proof sufficient to meet the commonality requirement of Rule 23(a)(2).” Id.

       3. Rule 23(a)(3): Typicality is satisfied.

       Rule 23(a)(3) requires that “the claims . . . of the representative parties are typical of the

claims . . . of the class.” Fed. R. Civ. P. 23(a)(3). This “is fairly easily met so long as other class

members have claims similar to the named plaintiff.” DeBoer, 64 F.3d at 1174. “Factual variations

in the individual claims will not normally preclude class certification if the claim arises from the



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same event or course of conduct as the class claims, and gives rise to the same legal or remedial

theory.” Alpern v. UtiliCorp United, Inc., 84 F.3d 1525, 1540 (8th Cir. 1996).

        Plaintiff easily meets this requirement. Her claims share the same and essential

characteristics of those of any Class Member, as they arise out of a common scheme based on

Kohl’s companywide pricing policies, and they will be resolved based on a common and

mechanical analysis of evidence. Plaintiff’s “claims are based on the same facts and the same legal

and remedial theories as the claims of the rest of the class members.” Spann, 307 F.R.D. at 519.

        4. Rule 23(a)(4): Adequacy is satisfied.

        The named plaintiff and her lawyers must fairly and adequately protect the interest of Class

Members. Fed. R. Civ. P. 23(a)(4). This requires Plaintiff be a member of the Class, and that she

and her counsel vigorously defend the interest of the Class. Glen v. Fairway Independent Mortg.

Corp., 265 F.R.D. 474, 478-79 (E.D. Mo. 2010).

        Plaintiff is a member of the Class and understands her duty is to hire competent counsel,

monitor the litigation, participate in discovery and testify at trial if necessary. Ex. 14 at 26:23-27:5.

She already sat through a full-day deposition, produced documents and responded to

interrogatories. She also hired counsel experienced in class action litigation, including successfully

litigating cases based on deceptive pricing claims. Ex. 17. There can be no serious dispute they

have the requisite “ability, resources, commitment, and experience necessary to conduct this class

action.” McAllister v. St. Louis Rams, LLC, 2018 WL 1299553, at *5 (E.D. Mo. Mar. 13, 2018).

        5. Rule 23(b)(3) is satisfied

            a. Common liability questions predominate

        Rule 23(b)(3) “tests whether proposed class members are sufficiently cohesive to warrant

adjudication by representation.” Amchm Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997).



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“Predominance requires the Court to determine whether Defendant’s liability to all plaintiffs may

be established with common evidence . . . .” Golan, 2017 WL 193560 at *3.

       Predominance is easily satisfied under the MMPA. The MMPA’s fundamental purpose is

the protection of consumers, and, to promote that purpose, the act prohibits false, fraudulent or

deceptive merchandising practices. Huch v. Charter Comm., Inc., 290 S.W.3d 721, 724 (Mo. 2009)

(en banc). “It is the defendant’s conduct, not his intent, which determines whether a violation has

occurred.” Id. A class action lawsuit is authorized when the unlawful conduct has caused similar

injury to “numerous other persons.” Id. at 725 (quoting Section 407.025.2).

       Plaintiff need not prove she or any Class Member relied on Kohl’s deceptive price

comparisons. Huffman v. Credit Union of Texas, 758 F.3d 963, 968 (8th Cir. 2014). Nor need she

prove Kohl’s deceptive conduct caused her or any class member to purchase its products. Plubell

v. Merck and Co., Inc., 289 S.W.3d 707, 714 (Mo. App. 2009) (“[A] plaintiff’s loss should be a

result of the defendant’s unlawful practice, but the statute does not require that the purchase be

caused by the unlawful practice.”) (emphasis in original).

       As relevant here, the MMPA defines a “regular price” as “a seller’s usual and customary

price.” 15 CSR 60-7.010(L). It requires that:

       [a] seller shall not make a price comparison to a former price, unless the
       comparative price is actual, bona fide and not illusory or fictitious, and is- (1) A
       price at which reasonably substantial sales of the product were made to the public
       by the seller in the regular course of the seller’s business, and on a regular basis
       during a reasonably substantial period of time in the immediate, recent period
       preceding the advertisement. . . . . [or] (2) A price at which the product was openly
       and actively offered for sale to the public by the seller in the regular course of the
       seller’s business, and on a regular basis during a reasonably substantial period of
       the time in the immediate, recent period preceding the advertisement.

15 CSR 60-7.060(2)(B)(1-2) (emphasis added).




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        At trial, Plaintiff will rely on a common and mechanical analysis of historical transaction

data to show Kohl’s ticket prices are illusory, and not bona fide, because the percentage of units

Kohl’s actually sells at ticket price (i.e.,                   is not “substantial” as required by the

MMPA. See Boedeker Decl. at ¶¶30-34. Plaintiff will also rely on Kohl’s companywide policies

to show it does not make bona fide offers to sell products at ticket prices for substantial periods of

time. Id. at ¶¶36-43. She may also rely on internal profit margin targets and projection analysis to

show Kohl’s never had a good faith belief or intent to sell a substantial number of units at the ticket

price. And she may rely on Professor Grewal to establish that false price comparisons are likely to

deceive and influence consumers’ purchasing decisions. Grewal Decl. at ¶¶34-39.

        In Spann, the court was presented with nearly identical evidence and held a “jury may

determine from such common proof that the [false price comparison] scheme was pervasive, and

that defendant was or should have been aware that it would deceive customers.” Spann, 307 F.R.D.

at 520-522. Kohl’s                        and sales data “may show [it] had no bona fide intention of

selling the subject products at their [ticket] prices.” Id. at 522 (citing B. Sanfield, Inc. v. Finlay

Fine Jewelry Corp., 258 F.3d 578, 579-80 (7th Cir. 2001) (“Finlay”)). In short, evidence of a

pervasive and unlawful price comparison “policy or scheme is common to all putative class

members and predominates over any individual facts or questions.” Id.

        Kohl’s pricing practices are remarkably similar to those of the defendant in Finlay, who

regularly offered products at a discount, and only “once in a while” tried to sell items at higher

prices. 258 F.3d at 579. The trial court concluded such practices were “unfair or deceptive” because

less than 3% of unit sales occurred at the higher prices and “if a customer ask[ed] for [a] discount

during regular-price days, Finlay [was] happy to oblige.” Id. On appeal, the Seventh Circuit held:

        [w]ords such as ‘unfair,’ ‘misleading,’ and ‘deceptive’ understate the gravity of
        Finlay’s misconduct. ‘False’ and ‘fraudulent’ are more accurate labels. The ‘sale’

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        price is Finlay’s regular price, so the claim that it offers a . . . reduction from some
        higher price is false. The district court found that Finlay lacks any bona fide intent
        to make transactions at the higher price, which justifies the appellation ‘fraud.’ If
        the FTC or the Attorney General of Illinois were to bring an action against Finlay,
        the court would issue an injunction in a trice.”

Finlay, 258 F.3d at 580 (internal citations omitted, emphasis in original).

        Because Kohl’s engages in similar practices by which it sells an

of units at their ticket prices (e.g.,    ), there is no reason a trier of fact could not conclude it

engages in a similarly fraudulent scheme. Huyer v. Wells Fargo & Co., 295 F.R.D. 332 (S.D. Iowa

2013) (unlawful pattern of racketeering could be established by common evidence of a challenged

corporate policy) (citing Klay v. Humana, Inc., 382 F.3d 1241, 1257 (11th Cir. 2004)).

        Crucially, Plaintiff and the Class are entitled to a presumption that sales and offers were

not reasonably substantial unless Kohl’s can show either it: (1) sold ten percent (10%) or more of

the total unit sales at the higher reference prices; or (2) openly and actively offered products for

sale at the higher reference prices forty percent (40%) or more of the time immediately preceding

an advertised discount. 15 CSR 60-7.060(2)(B)(1-2). Kohl’s has not met that burden, and it

apparently cannot adduce any evidence to do so. See, e.g. Ex. 2 at 128:21-129:13 (

                                             ); id. at 137:17-138:6 (

                                                       ). Thus, Plaintiff and the Class are entitled to a

common, rebuttable presumption that Kohl’s violated the MMPA. CSR 60-7.060(2)(B)(1-2).

        The same common evidence can prove classwide unjust enrichment which requires: “(1)

that the defendant was enriched by the receipt of a benefit; (2) that the enrichment was at the

expense of the plaintiff; and (3) that it would be unjust to allow the defendant to retain the benefit.”

Downing v. Riceland Foods, Inc., No. 4:13CV321 CDP, 2015 WL 1299229, at *8 (E.D. Mo. Mar.

19, 2015) (citation omitted). Certification of this claim is appropriate because “the actions of the

defendant are uniform and the transaction with all members are equitably similar.” Dollar General,
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2018 WL 1418292, at *19 (citing James D. Hinson Elec. Contracting Co. v. BellSouth Telecomms.,

Inc., 275 F.R.D. 638, 647 (M.D. Fla. 2011) (“[W]hen the defendant’s conduct is the same, it is

difficult to conceive of any significant equitable differences between class members.”)); Hoving

v. Lawyers Title Ins. Co., 256 F.R.D. 555, 570 (E.D. Mich. 2009) (a jury could conclude that the

defendant was unjustly enriched no matter what the particular facts of each individual class

member’s transaction)); McAllister, 2018 WL 1299553, at *8 (the question of whether or not there

was unjust enrichment can be decided “‘in one stroke.’”) (citing Dukes, 564 U.S. at 350).

           b. Common damages questions predominate

       Plaintiff must advance a theory of damages that matches her theory of liability and is

“capable of measurement on a classwide basis.” Comcast Corp. v. Behrend, 569 U.S. 29, 35

(2013). But she need not propose a “mechanism to identify [any] uninjured class members prior

to judgment.” Tyson Foods, Inc. v. Bouaphakeo, 136 S.Ct. 1036, 1049 (2016); see also Dollar

General, 2019 WL 1418292, at *20 (Plaintiff is “not required to show that each class member will

ultimately be entitled to these damages.”) (citing Amgen, 568 U.S. at 459). Nor must she prove the

exact amount of damages. “[A]ll that is required is that the evidence, with such certainty as the

nature of the case will permit, shall lay a foundation which will enable the trier of the fact to make

a fair and reasonable estimate.” Shechter v. Brewer, 344 S.W.2d 784, 791 (Mo. App. 1961) (citing

authority). Thus, “individual damages questions are not a bar to certification.” McAllister, 2018

WL 1299553, at *9 (citing Tyson, 136 S.Ct. at 1045).

       Here, Plaintiff and the Class are entitled to benefit-of-the-bargain damages. Plubell, 289

S.W.3d at 715. This measures the difference between the value of an item as represented minus

the value actually received. Dkt. 50 at 600 (citing cases). This is a simple and common

mathematical equation that can be calculated on either an individual or class-wide basis.


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       The first part of the equation is based on ticket prices, which are intended to represent the

“fair market value” of an item. Boedeker Decl. at ¶¶45-46; see also Section III.A., infra

                                                                 and Plaintiff understood the same).

       The second part of the equation—the actual “fair market” value of each item—is

determined by “the price at which a willing seller and a willing buyer will trade, both having a

reasonable knowledge of the facts.” Klapmeir v. Telecheck Intern., Inc. 482 F.2d 247, 252 (8th

Cir. 1973) (citing cases). The most obvious source of this information is an analysis designed to

capture the distribution of prices actually charged for the products in question. Boedeker at ¶¶47-

51. For each product identified in the Complaint, Mr. Boedeker calculated actual value based on

its mode (most common), median (middle) and mean (average) sales price. Id. Subtracting the

actual market value from the represented value reveals that, with respect to the items identified in

the Complaint, Plaintiff suffered damages of between                           Id. at ¶¶53-55. Given

appropriate additional sales data Mr. Boedeker can easily and mechanically do the same

calculations for all products purchased by Plaintiff and the entire Class. Id. at ¶¶57-58.

           c. A class action is the superior method for adjudicating this matter

       The last requirement is that a class action be “superior to other available methods for fairly

and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Superiority exists because

Class Members have suffered relatively small damages and there are no other pending actions,

making this a convenient forum for a single adjudication of class member claims. Hopkins v.

Kansas Teachers Community Credit Union, 265 F.R.D. 483, 489-90 (W.D. Mo. 2010). Also,

Kohl’s maintains emails and transaction history for members of its loyal program, so class notice

can be provided by a combination of emails and publication. Rule 23(c)(2).




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       6. Rule 23(b)(2) is satisfied for purposes of an injunction

       Plaintiff also seeks certification under Rule 23(b)(2). As another court framed the issue:

       This case typifies the kind of action properly certified under Rule 23(b)(2) insofar
       as Plaintiffs seek a single injunction prohibiting Defendant from further
       disseminating false price-comparison advertising schemes. If Plaintiffs can prove
       that Defendant engaged in a fraudulent price-comparison advertising scheme, then
       a single injunction prohibiting Defendant from continuing such misleading
       advertising practices would provide relief to all class members at once.

Russell v. Kohl’s Dept. Stores, Inc., No. ED CV 15-01143 RGK(SPx), 2015 WL 12748629,

at *5 (C.D. Cal. Dec. 4, 2015) (“Plaintiffs’ class is appropriately certified under Rule

23(b)(2) to the extent the class seeks injunctive relief.”); see also Finlay, 258 F.3d at 580

(injunction is a suitable remedy for a fraudulent price comparison scheme). Here, Plaintiff

similarly seeks a single injunction prohibiting Kohl’s from continuing to violate the

MMPA. Certification under Rule 23(b)(2) is therefore appropriate. Id.

VI     CONCLUSION

       This case meets all of the requirements for certification of a damages class under

Rule 23(b)(3) and an injunctive relief class under Rule 23(b)(2). Accordingly, Plaintiff’s

Motion should be granted.

                                                   BLITZ, BARDGETT & DEUTSCH, L.C.

                                                   By: /s/ Christopher O. Bauman
                                                   Robert D. Blitz #24387
                                                   Christopher O. Bauman #52480
                                                   120 South Central Ave., Suite 1500
                                                   St. Louis, Missouri 63105
                                                   314-863-1500 (office)
                                                   314-863-1877 (facsimile)
                                                   rblitz@bbdlc.com
                                                   cbauman@bbdlc.com




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                                        Matthew Zevin
                                        Stanley Law Group
                                        10021 Willow Creek Road, Suite 200
                                        San Diego, California 92131
                                        619- 235-5306 (office)
                                        815-377-8419 (facsimile)
                                        mzevin@aol.com

                                        Scott A. Kitner
                                        Stanley Law Group
                                        6116 N. Central Expressway, Suite 1500
                                        Dallas, Texas 75206
                                        214-443-4301 (office)

                                        Attorneys for Plaintiff and Class




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of December, 2020, the foregoing was filed

electronically with the Clerk of the Court to be served by operation of the Court’s electronic

filing system upon all counsel of record.

                                             /s/ Christopher O. Bauman
                                             Attorney for Plaintiff and Class




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